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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 JOHNSON & JOHNSON HEALTH CARE                      §
 SYSTEMS INC.,                                      §
                                                    §
                  Plaintiff,                        §
                                                    §
                          v.                        §
                                                    §
 DOROTHY FINK, Acting Secretary of Health           §        Case No. 1:24-cv-3188-RC
 and Human Services, et al.,                        §
                                                    §
                   Defendants.                      §
                                                    §


 [PROPOSED] ORDER GRANTING 340B HEALTH, UMASS MEMORIAL MEDICAL
CENTER, AND GENESIS HEALTHCARE SYSTEM’S MOTION TO FILE AN AMICUS
                   BRIEF AND EXTEND PAGE LIMIT

         Upon consideration of 340B Health, UMass Memorial Medical Center, and Genesis

HealthCare System’s Motion for Leave to File an Amicus Curiae Brief in Support of Defendants’

Motion for Summary Judgment and a page limit extension, and any opposition thereto, it is

hereby

         ORDERED that the Motion is granted; and it is further

         ORDERED that the page limitation be expanded to 35 pages; and it is further

         ORDERED that the Clerk shall cause the Proposed Amicus Curiae Brief attached to the

Motion to file an Amicus Curiae Brief to be filed and entered on the docket in the above-

captioned case.




Dated: __________, 2025

                                                 UNITED STATES DISTRICT JUDGE
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Local Rule 7(k) Appendix: Names and Addresses of Attorneys Entitled to Be Notified of
This Entry

Paula Rachel Ramer
ARNOLD & PORTER KAY SCHOLER LLP
250 West 55th Street
New York, NY 10019

Samuel I. Ferenc
Jeffrey L. Handwerker
ARNOLD & PORTER KAY SCHOLER LLP
601 Massachusetts Ave, NY
Washington, D.C. 20001

John Bardo
DOJ-USAO
601 D Street NW
Washington, DC 20530
